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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                           CRIMINAL NO. 08-CR-057-12

                v.

 OMAR TREVINO MORALES

        a.k.a. “42,” a.k.a. “Z-42,”

                         Defendant.

               GOVERNMENT’S MOTION FOR PRE-TRIAL DETENTION

       The United States respectfully moves to detain the Defendant, Omar Trevino Morales, also

known as “42” and “Z-42,” pending trial, pursuant to 18 U.S.C. § 3142(e)(1). The Defendant is a

leader of an international drug trafficking organization (“DTO”) that was engaged in extreme

violence. As discussed below, the Defendant is charged with drug trafficking and firearm offenses

that carry a presumption that no condition or combination of conditions will sufficiently guarantee

the Defendant’s presence in court and protect the safety of the community. Further, the Defendant

faces significant jail time for incredibly serious offenses, including multiple offenses that carry

mandatory minimum sentences; is known to use and carry firearms and utilize violence to maintain

his position of power; potentially has access to substantial amounts of drug proceeds in the form

of untraceable cash; has no immigration status in the United States; and is subject to an

immigration detainer. Accordingly, the Defendant presents a serious risk of flight and danger to

the community that cannot be mitigated by any condition or combination of conditions and should

be detained pending trial.

                                        BACKGROUND

       On August 20, 2024, the United States District Court for the District of Columbia issued

an arrest warrant for Trevino Morales based on an indictment in this case. That same day, a grand



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jury sitting in the District of Columbia returned and filed a Fifth Superseding Indictment (the

“Indictment”) against the Defendant and his co-defendant, charging him with:

           •   Count One: Engaging in a continuing criminal enterprise, in violation of 21 U.S.C.

               §§ 848(a), 848(b), 848(c), and 848(E)(1)(A);

           •   Count Two: Conspiring to distribute cocaine and marijuana, intending, knowing,

               and having reasonable cause to believe that the cocaine and marijuana would be

               unlawfully imported into the United States, in violation of 21 U.S.C. §§ 959(a),

               960, and 963;

           •   Count Three: Use of a firearm, including a machine gun, destructive device, semi-

               automatic assault weapon or pistol, during and in relation to a drug trafficking crime

               and possession of a firearm in furtherance of a drug trafficking crime, where one or

               more of such firearms was brandished; discharged; a semi-automatic assault

               weapon; a machine gun; and a destructive device, in violation of 18 U.S.C. § 924(c)

               and 18 U.S.C. § 2; and

           •   Count Four: Conspiring to commit international money laundering, in violation of

               21 U.S.C. §§ 1956(a)(2)(A), 1952(a)(2)(B), and 1956(h).

Additionally, with respect to Count One, the Indictment alleges nineteen specific violations of 21

U.S.C. §§ 846, 848(e), 952(a), 959(a), 960, and/or 963, including 5 murder conspiracy violations,

7 international cocaine distribution or attempted international cocaine distribution violations, and

7 cocaine importation or attempted cocaine importation violations.

       The Indictment is the product of an extensive, long-term, and ongoing investigation

conducted by the Drug Enforcement Administration, Homeland Security Investigations, and

Federal Bureau of Investigation into the drug-trafficking activities of the Gulf Cartel and Los



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Zetas, two related drug-trafficking organizations (“DTOs”) operating in Mexico. The Government

anticipates that the evidence at trial will show that from in or about January 2003 through the date

of the Indictment, the Defendants engaged in a continuing criminal enterprise and drug trafficking

and money laundering conspiracy with the ultimate objective of importing narcotics, namely

cocaine and marijuana, into the United States for their own profit.

       If this case proceeds to trial, the Government expects its evidence to consist of testimony

from cooperating witnesses with direct communications and interactions with the Defendant

discussing drug trafficking and drug-trafficking related activities, including extreme violence, and

audio recordings of the Defendant and others discussing their criminal activities. This evidence

will show that, during the relevant time period, Defendant was a high-ranking member and, later,

a principal leader of the Zetas Cartel and its successor organization, “Cartel del Noreste” (“CDN”).

       The Zetas Cartel (also known as “Los Zetas” and referred to here as “Zetas”), was a violent

and prolific drug trafficking organization that imported tonnage quantities of cocaine and

marijuana into the United States while using terroristic violence to control large swaths of northern

Mexico, including along the border between Mexico and the United States. The Zetas operated

primarily in the Mexican states of Coahuila, Nuevo Laredo, Tamaulipas, Zacatecas, San Luis

Potosi, and Veracruz. Between 2000 and 2010, the Zetas formed an alliance with the Gulf Cartel,

a group of drug traffickers primarily based in northern Mexico, to form an organization known as

“The Company.” The Gulf Cartel used the Zetas as the armed militaristic wing of the Cartel to

maintain control of drug trafficking routes throughout Mexico. At the beginning, Heriberto

Lazcano Lazcano headed the Zetas organization. He recruited both members of the Mexican

special forces, along with drug traffickers who never served in the military or with a police force,

to join the organization. The Zetas and Gulf Cartel’s alliance fractured in the summer of 2010 after




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a period of intense violence between the organizations. The Zetas then operated as an independent

drug trafficking organization that imported tonnage quantities of cocaine and marijuana into the

United States.

       Defendant joined the Zetas in or around January 2003. By 2011, he had ascended to the

highest levels of the Zetas’ leadership. After Lazcano’s death in October 2012, Defendant and his

codefendant Miguel Trevino Morales took over as the leaders of the Zetas. After both defendants

were arrested, they renamed the Zetas to CDN. The two continued to control the Cartel and

installed various family members to operate the CDN while they were incarcerated. Through the

date of the Indictment, the CDN remained the successor cartel to the Zetas and continued the

criminal drug trafficking activities previously conducted by the Zetas, and the Defendants

remained its leaders.

       The Zetas and CDN—and Defendant as a member and later leader of the groups— carried

out numerous acts of violence, including murders, assaults, kidnappings, assassinations and act of

torture. Defendant executed dozens of residents living around Allende, a small town located in

Coahuila, Mexico, in approximately March 2011. In carrying out this and other acts of violence,

Defendant possessed, carried, used, and brandished firearms, including machine guns, semi-

automatic rifles, and pistols. The Zetas and CDN committed these acts of violence for a variety of

reasons, including: (1) promoting and enhancing the prestige, reputation, and position of the Zetas

and CDN with respect to rival criminal organizations, including other drug trafficking

organizations; (2) preserving, protecting, and expanding the power, territory, and criminal ventures

of the Zetas and CDN; (3) keeping victims, rivals, and law enforcement in fear of the Zetas and

CDN, their members, and their associates; (4) disciplining its members and associates by punishing

disloyalty and failure; (5) enriching the members and associates of the Zetas and CDN through




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criminal activity, including narcotics trafficking, theft, extortion, and human smuggling; and (6)

seeking reprisal against elected and public officials, members of the military and law enforcement,

and others for failing to provide services to the Zetas and CDN.

       The Defendant is a Mexican national with no known contacts in the United States, other

than any coconspirators. He was paroled into the United States and has no valid visa to remain

here. An Immigration and Customs Enforcement detainer is in place if Defendant is released from

the custody of the U.S. Marshal’s Service.

                                    LEGAL STANDARDS

       Under the Bail Reform Act, 18 U.S.C. §§ 3141 et seq., courts must order a defendant’s pre-

trial detention upon determining that “no condition or combination of conditions would reasonably

assure the appearance of the person as required and the safety of any other person and the

community.” 18 U.S.C. § 3142(e)(1), (f). “In common parlance, the relevant inquiry is whether

the defendant is a ‘flight risk’ or a ‘danger to the community.’” United States v. Vasquez-Benitez,

919 F.3d 546, 550 (D.C. Cir. 2019) (emphasis added); see also 18 U.S.C. § 3142(c)(1) (“If the

judicial officer determines that the release . . . will not reasonably assure the appearance of the

person as required or will endanger the safety of any other person or the community . . . .”

(emphasis added)). The Government bears the burden of establishing the defendant’s danger to the

community by clear and convincing evidence, but the Government need only prove the Defendant

poses a flight risk by a preponderance of the evidence. United States v. Munchel, 533 F. Supp. 3d

1, 8 (D.D.C. 2021) (dangerousness); Vasquez-Benitez, 919 F.3d at 551 (flight risk).

       When the court finds that there is probable cause to believe that the defendant committed

(1) an offense for which a maximum term of imprisonment of ten years or more is prescribed in

the Controlled Substances Act or Controlled Substances Import and Expert Act; or (2) an offense




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under 18 U.S.C. § 924(c), that finding triggers a rebuttable presumption that no condition or

combination of conditions can reasonably assure the defendant’s appearance and the safety of

others when the court finds. 18 U.S.C. § 3142(e)(3). In making the final determination as to

whether the defendant should be detained pending trial, the court must take into account: (1) the

nature and circumstances of the offense charged; (2) the weight of evidence against the person; (3)

the history and characteristics of the person; and (4) the nature and seriousness of the danger to

any person or the community that would be posed by the person’s release. 18 U.S.C. § 3142(g).

                                          ARGUMENT

       Defendant should be detained while awaiting trial because he both poses a dangerous to

others and the community and he poses a serious flight risk.

  I.   There Is a Rebuttable Presumption that Defendant Is Dangerous and a Flight Risk

       Defendant is charged with multiple offenses that carry a rebuttable presumption that the

Defendant is both dangerous and a flight risk: Count One charges Defendant with engaging in a

continuing criminal enterprise in violation of 21 U.S.C. § 858, which carries a mandatory

minimum penalty of twenty years’ imprisonment and the potential for the death penalty; Count

Two charges Defendant with conspiring to distribute cocaine and marijuana for unlawful

importation into the United States, in violation of 21 U.S.C. §§ 959(a), 960, and 963, which carries

a mandatory minimum penalty of ten years’ imprisonment; and Count Three charges Defendant

with use of a firearm in violation of 21 U.S.C. § 924(c), which carries a mandatory minimum

penalty of up to thirty years’ imprisonment. Each of these offenses are qualifying offenses under

18 U.S.C. § 3142(e)(3)—Counts One and Two under subsection (3)(a) and Count Three under

subsection (3)(b). Thus, the Court’s analysis here begins with a presumption that there is no




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condition or combination of conditions that will reasonably assure the appearance of the Defendant

and the safety of the community.

    II.   All Four Factors Weigh in Favor of the Defendant’s Pre-Trial Detention

          Defendant cannot overcome this rebuttable presumption in favor of pretrial detention in

this case because § 3412(g)’s factors all weigh heavily against him.

             a. The Nature and Circumstances of the Offenses Charged

          The nature and circumstances of the offenses heavily weigh in favor of detention. As

described above, Defendant is charged with four serious offense counts and faces a lengthy prison

term as a result. He faces a charge that he engaged in a continuing criminal enterprise, and as part

of that enterprise he is accused of conspiring to murder members of the Mexican government,

citizens of Mexico, members and associates of the Zetas and CDN, members of the Guatemalan

government, and Guatemalan drug traffickers and other citizens of Guatemala. See Indictment,

Count One, Violations 1-5, ECF No. 578. He also faces a charge that he engaged in a decades-

long drug trafficking conspiracy to import narcotics into the United States, and used firearms,

including destructive devices, during, in relation to, and in furtherance of that conspiracy,

including by carrying out or ordering numerous acts of violence to preserve the Zetas’ and CDN’s

power for his own profit and benefit. As a result of his conduct, Defendant faces a significant

penalty of life imprisonment and, for Count One, the death penalty. 1

          The charges against the Defendant, and the penalties he faces as a result, underscore both

that he poses a danger to others and that he is a flight risk. See 18 U.S.C. § 3142(g)(1) (court should




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  Because of the amount of cocaine and marijuana attributable to his conduct, he faces a base
offense level under the U.S. Sentencing Guidelines of 38, and a number of possible enhancements,
including for leadership, bribery, and use of a weapon to name a few. With a criminal history
category of I, Defendant faces a Guidelines range of life imprisonment.


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consider whether the offense is a crime of violence or involves a controlled substance, firearm,

explosive, or destructive device); United States v. Hong Vo, 978 F. Supp. 2d 41, 43 (D.D.C. 2013)

(holding that serious nature of offenses and punishments Congress provided for those offenses

gave the defendant substantial incentive to flee); United States v. Anderson, 384 F.Supp.2d 32, 36

(D.D.C. 2005) (holding the gravity of the offenses and the potential prison term create a

considerable incentive for the defendant to flee). 2

           b. The Weight of the Evidence Against the Defendant

       The weight of the evidence against the Defendant also weighs heavily in favor of his

pretrial detention. Throughout the course of the investigation, federal law enforcement agents

employed a variety of techniques to investigate the Zetas and CDN, resulting in substantial

evidence against the Defendant, including testimony from cooperating witnesses with direct

communications and interactions with the Defendant discussing drug trafficking and drug-

trafficking related activities—including extreme violence against government personnel, civilians,

and cartel members and associates—as well as audio recordings of the Defendant and his

associates discussing their criminal activities.

       This evidence not only demonstrates the Defendant’s dangerousness, see United States v.

Vergara, 612 F. Supp. 2d 36, 37-38 (D.D.C. 2009), but it also shows that Defendant has



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  Indeed, courts have recognized that Congress created a rebuttable presumption in favor of pretrial
detention because Congress found “based on extensive testimony, that flight to avoid prosecution
is particularly high among those charged with major drug offenses.” United States v. Martir, 782
F.2d 1141, 1144 (2d Cir. 1985); United States v. Alatishe, 768 F.2d 364 at 370 n.14 (D.C. Cir.
1985) (rebuttable presumption for serious drug trafficking offenses included because “the
extremely lucrative nature of drug trafficking, and the fact that drug traffickers often have
established substantial ties outside the United States from whence most dangerous drugs are
imported into the country,” means that “these persons have both the resources and foreign contacts
to escape to other countries with relative ease in order to avoid prosecution for offenses punishable
by lengthy prison sentences”) (quoting S.Rep. No. 225, 98th Cong., 1st Sess. 20 (1983), U.S.Code
Cong. & Admin.News 1984, p. 3203).


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considerable incentive to flee, see United States v. Chansley, 525 F. Supp. 3d 151, 170 (D.D.C.

2021) (“The overwhelming weight of the evidence may further prompt defendant to flee and thus

weighs in favor of pre-trial detention.”).

            c. The History and Characteristics of the Person, and the Nature and Seriousness of
               the Danger to Others
        Given the nature of the Defendant’s history and characteristics, the Government addresses

both that factor and the nature and seriousness of the Defendant’s danger to others together. These

factors weigh in favor of detaining the Defendant before trial because he poses a risk to the safety

of others and his risk of flight is high.

        Dangerousness. At trial, the Government anticipates presenting significant evidence that

the Defendant engaged in extreme acts of violence, including the execution of dozens of civilian

residents living around Allende, Coahuila, Mexico, over the course of his decades-long criminal

activity, and in his role as a leader of the Zetas and CDN ordered others to do the same. His ultimate

objective was to import massive quantities of cocaine and marijuana into the United States, a direct

threat to the health and safety of U.S. residents around the country. He even continued his

leadership of the Zetas and CDN from Mexican prison over the last decade. If released pending

trial, there is serious risk that Defendant will continue to pose a risk to the safety of others and the

community through his drug trafficking activities.

        Flight Risk. Defendant’s history and characteristics establish his serious risk of flight in

this case. He is a Mexican national that lacks any known ties to the District of Columbia or the

United States other than his coconspirators; he has significant familial and criminal connections in

Mexico; and he has potentially significant resources at his disposal through his criminal activities,

including drug proceeds in the form of untraceable cash. Moreover, the Defendant has been

brought to the United States solely for the purpose of his federal prosecution, and a U.S.



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Immigration and Customs Enforcement detainer is in place if he is released from the custody of

the U.S. Marshal’s Service. Defendant has no reason to remain in this country other than this

criminal case and thus presents a significant flight risk if released from custody.

        For these reasons, the last two § 3142(g) factors also weigh heavily in favor of Defendant’s

pretrial detention.

                                         CONCLUSION

        The relevant inquiry for the Court is whether there are conditions that can be placed upon

the Defendant that will reasonably assure the Defendant’s appearance at future court proceedings

and the safety of the community. For Defendant, there are none. The United States respectfully

requests that the Court detain the Defendant pending trial.



Respectfully submitted this 28th day of February, 2025.

                                                      MARLON COBAR, Chief
                                                      Narcotic and Dangerous Drug Section
                                                      Criminal Division
                                                      United States Department of Justice


                                              By:        /s/ Jayce Born        .
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served via ECF to counsel of record, this
28th day of February, 2025.

                                             By:       /s/ Jayce Born        .
                                                    Jayce Born
                                                    Trial Attorney
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